Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.354 Page 1 of 6
Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.355 Page 2 of 6
Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.356 Page 3 of 6
Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.357 Page 4 of 6
Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.358 Page 5 of 6
Case 1:14-cr-02092-SAB   ECF No. 233   filed 04/08/15   PageID.359 Page 6 of 6
